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                                                                                       United States Bankruptcy Court
                                                                                             Southern District of Texas

UNITED STATES BANKRUPTCY COURT                                        SOUTHERN DISTRICT OFENTERED
                                                                                           TEXAS
                                                                                      September 17, 2022
                                                                                             Nathan Ochsner, Clerk
                                         MOTION AND ORDER
                                     FOR ADMISSION PRO HAC VICE

          Division                Houston                 Main Case Number          22-60043
          Debtor            In Re:                    Free Speech Systems LLC

This lawyer, who is admitted to the State Bar of                 New York              :

                       Name                             David M. Zensky
                       Firm                             Akin Gump Strauss Hauer & Feld LLP
                                                        One Bryant Park, 41st Floor
                       Street
                                                        New York, NY 10036
                 City & Zip Code                        (212) 872-1000
                    Telephone                           NY 2176691
             Licensed: State & Number

Seeks to appear as the attorney for this party:

                   The Sandy Hook Families,** creditors and parties-in-interest

 Dated:   9/16/2022                       Signed: /s/ David M. Zensky




 COURT USE ONLY: The applicant’s state bar reports their status as:                                 .



 Dated:                                   Signed:
                                                          Deputy Clerk



                                                     Order
         August 02,
         September  2019
                   17, 2022

                                     This lawyer is admitted pro hac vice.

Dated:


**Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel Fontaine
(collectively, the “Texas Plaintiffs”) and David Wheeler, Francine Wheeler, Jacqueline Barden,
Mark Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi,
Carlos M. Soto, Jillian Soto-Marino, William Aldenberg, William Sherlach, and Robert Parker
(collectively, the “Connecticut Plaintiffs”, together with the Texas Plaintiffs, the “Sandy Hook
Families”).
